                           IN THE UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON

                                      PORTLAND DIVISION


 IN RE LEXINFINTECH HOLDINGS                            Case No.: 3:20-cv-01562-SI
 LTD. SECURITIES LITIGATION
                                                        STIPULATED MOTION AND
                                                        NOTICE OF VOLUNTARY
                                                        DISMISSAL




                                    LR 7-1 CERTIFICATION
          Counsel for Lead Plaintiff Matthew P. Castner (“Plaintiff”) and counsel for Defendants
LexinFintech Holdings Ltd., Jay Wenjie Xiao and Craig Yan Zeng (the “Defendants,” and together
with Plaintiffs, the “Parties”) have conferred and stipulate to the relief requested in this motion.


                                          STIPULATION

          The Parties, by undersigned counsel, hereby stipulate and agree as follows:

          WHEREAS, on November 19, 2020, Plaintiff was appointed as the Lead Plaintiff in this

Action;

          WHEREAS, on January 19, 2021, Plaintiff filed the Amended Complaint;
          WHEREAS, on March 22, 2021, Defendant LexinFintech filed a Motion to Dismiss;
          WHEREAS, on November 24, 2021, the Court issued an Order granting Defendants'

Motion to Dismiss, and granting Plaintiff leave to amend (“ Order”);

          WHEREAS, Plaintiff has elected not to amend the Amended Complaint or appeal the

Order;
       WHEREAS, Defendants deny that they engaged in any wrongful acts or are liable on any

of the claims asserted in this Action;

       WHEREAS, this Action has not been certified as a class action;

       WHEREAS, the undersigned have met and conferred and hereby stipulate and agree as

follows:

           1.    Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff

hereby voluntarily dismisses the claims asserted in the above captioned action against Defendants

without prejudice;

           2.    Plaintiff shall not pursue an amendment of the Amended Complaint or an appeal

of the Order;

           3.    Each side shall bear their own attorneys’ fees and costs incurred in connection

with this Action;

           4.    The undersigned parties and counsel mutually agree not to seek or assert any claim

against the other(s) for fees, expenses, costs, sanctions (including any claim under Fed. R. Civ. P.

11) and/or any other claim that the Action was brought or defended in bad faith or without a

reasonable basis;

           5.    This Stipulation constitutes the entire and complete agreement between the

undersigned parties, the terms and conditions contained herein are contractual and not a mere

recital, and such terms and conditions shall not be amended, supplemented or abrogated other

than by a written instrument signed by each affected party hereto, or by the authorized

representative of each party; and

           6.    This Stipulation shall not be construed against the party preparing it but shall be

construed as if the parties jointly prepared this Stipulation, and any uncertainty or ambiguity shall

not on the ground of authorship be interpreted against any one party.

                                             2
DATED: December 27, 2021

LANE POWELL PC                                     POMERANTZ LLP


By: s/ Milo Petranovich _____________              By: s/ Tamar A. Weinrib________________
    Milo Petranovich, OSB No. 813376                   Jeremy A. Lieberman
    601 S.W. Second Avenue, Suite 2100                 (admitted pro hac vice)
    Portland, Oregon 97204-3158                        Tamar A. Weinrib
    petranovichm@lanepowell.com                        (admitted pro hac vice)
    Tel: 503-778-2100                                  600 Third Avenue, 20thFloor
                                                       New York, New York 10016
                                                       Telephone: (212) 661-1100
SKADDEN, ARPS, SLATE,                                  Facsimile: (917) 463-1044
MEAGHER & FLOM LLP                                     jalieberman@pomlaw.com
                                                       taweinrib@pomlaw.com

By: s/ Peter B. Morrison ________________
    Peter B. Morrison                                 RANSOM, GILBERTSON,
    (admitted pro hac vice)                           MARTIN & RATLIFF, LLP
    Virginia F. Milstead                              Jeffrey S. Ratliff
    (admitted pro hac vice)                           8401 NE Halsey Street Suite 208
    Kasonni M. Scales                                 Portland, Oregon 97220
    (admitted pro hac vice)                           Telephone: (503) 226-3664
    300 South Grand Avenue, Suite 3400                Facsimile: (503) 243-6716
    Los Angeles, California 90071                     Rgmr1500@gmail.com
    peter.morrison@skadden.com
    virginia.milstead@skadden.com                     Attorneys for Plaintiff
    kasonni.scales@skadden.com
    Tel: 213.687.5000

    Attorneys for LexinFintech Holdings Ltd. and
    Individual Defendants Jay Wenjie Xiao and
    Craig Yan Zeng




                                         3
